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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


AMERICAN PATENTS LLC,

     Plaintiff,

       v.
                                     CIVIL ACTION NO. 6:18-CV-339-ADA
MEDIATEK INC., MEDIATEK USA INC.,
BROADCOM PTE. LTD., BROADCOM
CORPORATION, LENOVO (SHANGHAI)
ELECTRONICS TECHNOLOGY CO. LTD.,
LENOVO GROUP, LTD., NXP
SEMICONDUCTORS N.V., NXP B.V., NXP
USA, INC., QUALCOMM INCORPORATED
and QUALCOMM TECHNOLOGIES, INC.,

     Defendants.




SPECIALLY APPEARING DEFENDANTS LENOVO (SHANGHAI) ELECTRONICS
         TECHNOLOGY CO., LTD. AND LENOVO GROUP LTD.’S
      OPPOSED MOTION TO SEVER AND STAY PURSUANT TO THE
              CUSTOMER-SUIT EXCEPTION DOCTRINE
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I.     INTRODUCTION

       The Lenovo Defendants should never have been named in this case, and the proceedings

against them should be severed and stayed.1 The accused technology is allegedly found in

integrated circuits manufactured by the Qualcomm and MediaTek Defendants (the

“Manufacturers”), not the Lenovo Defendants. These integrated circuits are merely incorporated

into the Lenovo Defendants’ accused tablets. This is a textbook example of a manufacturer being

the “true defendant” in a suit that also names its customers. In these types of cases, the lawsuit

against the customer should be severed and stayed pending the resolution of the suit against the

manufacturer. See, e.g., In re Nintendo of Am., Inc., 756 F.3d 1363, 1365 (Fed. Cir. 2014)

(describing the “customer-suit exception” doctrine, which “exists to avoid, if possible, imposing

the burdens of trial on the customer, for it is the manufacturer who is generally the ‘true defendant’

in the dispute”).

       Here, the Manufacturers are undoubtedly the “true defendants,” and the Lenovo

Defendants are merely their customers. The Manufacturers, not the Lenovo Defendants, have the

discovery, witnesses, and technical expertise pertinent to the infringement issues. Moreover, the

Lenovo Defendants’ liability hinges completely on whether the Manufacturers’ integrated circuits

are found to infringe. Consequently, any adjudication of the claims against the Manufacturers will

dispose of the claims against the Lenovo Defendants. Likewise, any remedy obtained against the

Manufacturers would exhaust any remedies against the Lenovo Defendants. The claims against

the Lenovo Defendants are peripheral to this case.

       Rather than impose undue burden on the Lenovo Defendants and tax the limited resources


1
  A motion to dismiss for improper service of process, lack of personal jurisdiction, and improper
venue, filed by the Lenovo Defendants, is pending at Dkt. 44. By filing this motion, the Lenovo
Defendants expressly reserve and do not waive any rights whatsoever, including as to the positions
taken and arguments made in the motion at Dkt. 44, as well as the reply at Dkt. 75.
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of this Court, the claims against them should be severed and stayed. Litigating those claims in

parallel with the claims against the Manufacturers would neither make sense nor advance the

administration of justice. The Court should grant this motion to sever and stay.2

II.      FACTUAL BACKGROUND

         A.      The Asserted Patents and Claims Are All Directed to Integrated Circuits,
                 Not Tablets

         Plaintiff asserts four patents, U.S. Patent No. 6,964,001 (the “‘001 patent”), U.S. Patent

No. 7,836,371 (the “‘371 patent”), U.S. Patent No. 8,239,716 (the “‘716 patent”), and U.S. Patent

No. 8,996,938 (the “‘938 patent”). (Dkt. 1, ¶¶ 49, 70, 88, 107.) All of them are identically titled

“On-Chip Service Processor.” (Id.) They are all directed to and describe “integrated circuits,” not

the products in which those integrated circuits are incorporated. (E.g., Decl. of Lai Yip (“Yip

Dec.”), Ex. A (‘001 patent, col. 1:16-19); Ex. B (‘371 patent, col. 1:24-27); Ex. C (‘716 patent,

col. 1:26-29); Ex. D (‘938 patent, col. 1:28-31).) For each asserted patent, Plaintiff asserts a single

claim, all of which are apparatus claims with the preamble defining the scope to be an “integrated

circuit comprising: . . . .” (Dkt. 1, ¶ 56 (‘001 patent, cl. 5), ¶ 77 (‘371 patent, cl. 7), ¶ 95 (‘716

patent, cl. 1), ¶ 114 (‘938 patent, cl. 1).)

         B.      Plaintiff’s Infringement Allegations Are All Directed to Integrated Circuits,
                 Not Tablets

         Plaintiff’s general infringement allegations against all Defendants are based on the

purported “making, having made, using, importing, providing, supplying, distributing, selling or

offering for sale integrated circuits having advanced on-chip service capabilities.” (Dkt. 1, ¶¶ 57,

78, 96, 115 (emphasis added)). Nowhere in these general allegations is there any mention of end

user products, such as tablets.



2
    Plaintiff opposes this motion, but the other Defendants do not oppose. (Yip Dec. ¶¶ 12-13.)
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       Meanwhile, Plaintiff’s specific infringement allegations consist of only: (1) parroting the

claim language from the asserted patents (e.g., compare Dkt. 1, ¶¶ 59-64 with Yip Dec. Ex. A

(‘001 patent), cl. 5); and (2) citing technical documentation for ARM processors (Dkt. 1, ¶¶ 58-

64, 79-82, 97-101, 116-19).      These ARM processors are purportedly integrated into other

Defendants’ (not the Lenovo Defendants’) accused integrated circuits. (E.g., compare Dkt. 1, ¶

58 (citing technical documentation for ARM Cortex-A53) with ¶ 51 (alleging ARM Cortex-A53

is “CPU Cluster 1” and “CPU Cluster 2” of accused MediaTek integrated circuits) & ¶ 55 (alleging

ARM Cortex-A53 processor is “CPU Core” of accused Qualcomm integrated circuits).) Not a

single factual allegation of infringement is directed to the Lenovo Defendants’ tablets themselves.

       All Defendants, except the Lenovo Defendants, are principally manufacturers of integrated

circuits. (Yip Dec. Ex. E, p. 5 (Qualcomm’s 2018 Annual Rpt.: “We derive revenues principally

from sales of integrated circuit products”); Ex. F, p. 51 (MediaTek’s 2017 Annual Report showing

99.17% of revenue derived from “Multimedia Chipsets”); Ex. G, p. 29 (NXP’s 2018 Annual Rpt.:

“The vast majority of [NXP’s] revenue is derived from the sale of semiconductor products to

distributors, Original Equipment Manufacturers (“OEMs”) and similar customers”); Ex. H, p. 36

(Broadcom’s 2018 Annual Rpt.: “Substantially all of our net revenue is derived from sales of a

broad range of semiconductor devices that are incorporated into electronic products”). The

Lenovo Defendants, meanwhile, are not in the business of making integrated circuits. (See id., Ex.

I (no discussion of designing, developing, or manufacturing integrated circuits anywhere in Annual

Report).)3



3
  Plaintiff alleges that all Defendants “are companies which together comprise [some] of the
world’s largest manufacturers of integrated circuits.” (Dkt. 1, ¶¶ 4, 10, 16, 23, 29.) But this
generic allegation is incorrect as to the Lenovo Defendants. (See Yip Dec. Ex. I.) In any event,
the allegation is irrelevant because Plaintiff does not accuse any integrated circuits purportedly
manufactured by the Lenovo Defendants. (See Dkt. 1, ¶¶ 53, 74, 92, 111.)
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       C.      The Accused Devices Are All Integrated Circuits, Except as to the Lenovo
               Defendants, for Which Tablets Are Only Nominally Accused

       As to all Defendants but the Lenovo Defendants, Plaintiffs expressly and directly accuse

integrated circuits. (E.g., Dkt. 1, ¶¶ 51, 72, 90, 109 (accusing MediaTek’s “MT6595, Helio X10,

and Helio X27 families of products”); ¶¶ 52, 73, 91, 110 (accusing Broadcom’s “BCM58712 and

BCM58713 families of products”); ¶¶ 54, 75, 93, 112 (accusing NXP’s “i.MX516, S32V234, and

i.MX 8QuadMax families of products”); ¶¶ 55, 76, 94, 113 & pg. 20 n.3, pg. 48 n.6, pg. 69 n.9,

pg. 91 n.12 (accusing Qualcomm’s “Snapdragon 410E and Snapdragon 650 families of products”

and the “Snapdragon 400 tier”).)

       As to the Lenovo Defendants, even though the accused products are nominally tablets, all

the allegations are directed toward the Qualcomm and MediaTek integrated circuits incorporated

into those tablets. (Id., ¶¶ 53, 74, 92, 111.) Those exact same integrated circuits are duplicatively

accused in the allegations directed against Qualcomm and MediaTek. (Compare Dkt. 1, pg. 12

n.1, pg. 40 n.4, pg. 61 n.7, pg. 83 n.10 (accusing MediaTek’s “MT8x series” in the allegations

against MediaTek) with id., ¶¶ 53, 74, 92, 111 (accusing “MediaTek 8161 Quad-Core Processor”

in allegations against Lenovo Defendants); compare Dkt. 1, pg. 20 n.3, pg. 48 n.6, pg. 69 n.9, pg.

91 n.12 (accusing Qualcomm’s “Snapdragon 400 tier” in allegations against Qualcomm) with id.,

¶¶ 53, 74, 92, 111 (accusing Qualcomm Snapdragon MSM8917 and APQ8017 processors in the

allegations against the Lenovo Defendants) & Yip Dec. ¶ 11, Ex. J (MSM8917 and APQ8017

processors are specified in the “Snapdragon 425 Mobile Platform”).) Indeed, in a Complaint that

is 131 paragraphs long, only four paragraphs mention the Lenovo Defendants’ accused tablets.

(Id., ¶¶ 53, 74, 92, 111.) Even those paragraphs are almost entirely focused on the integrated

circuits manufactured by Qualcomm and MediaTek. (Id.)




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III.   LEGAL STANDARD

       “Rule 21 of the Federal Rules of Civil Procedure allows the court to sever any claim against

a party.” Shifferaw v. Emson USA, No. 2:09-cv-54-TJW-CE, 2010 WL 1064380, at *1 (E.D. Tex.

Mar. 18, 2010) (citing Fed. R. Civ. P. 21). “The district court has broad discretion when deciding

whether to sever.” Id. (citing Anderson v. Red River Waterway Comm’n, 231 F.3d 211, 214 (5th

Cir. 2000)). Where suit is brought against a manufacturer and its customers, the action against the

customers may be severed and stayed pending resolution of the case against the manufacturer,

pursuant to the customer-suit exception doctrine. See In re Nintendo, 756 F.3d at 1365-66; see

also Katz v. Lear Siegler, Inc., 909 F.2d 1459, 1464 (Fed. Cir. 1990) (“[L]itigation against or

brought by the manufacturer of infringing goods takes precedence over a suit by the patent owner

against customers of the manufacturer”).

       Severance and stay of claims against a customer defendant is proper where: (1) the claim

to be severed is peripheral to the remaining claims; and (2) adjudication of the remaining claims

is potentially dispositive of the severed claim. Collaborative Agreements, LLC v. Adobe Sys. Inc.,

No. 1:14-cv-356-LY, 2015 WL 10818739, at *2 (W.D. Tex. Aug. 21, 2015).4 A court should sever

and stay claims against customer defendants pending resolution of claims against a manufacturer

to promote judicial economy and where “the administration of justice would be materially

advanced.” In re Nintendo, 756 F.3d at 1366. As explained below, all relevant considerations

weigh in favor of severing and staying the claims against the Lenovo Defendants.




4
  Where the movant seeks transfer of the severed and stayed claims, courts also consider a third
factor of whether such transfer is warranted under 28 U.S.C. § 1404(a). However, the Court need
not consider that factor here because the Lenovo Defendants are not presently requesting a transfer,
although they reserve all rights to do so and waive none. See Cellular Commc’ns Equip., LLC v.
Apple Inc. et al., 6:14-cv-251, 2016 WL 6884648, at *1 (E.D. Tex. Aug. 26, 2016) (noting that the
third factor is inapplicable when transfer is not requested).
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IV.    ARGUMENT

       A.      The Claims Against the Lenovo Defendants Are “Peripheral” to Those
               Against the Manufacturers

               1.      The Lenovo Defendants do not manufacture or design the accused
                       integrated circuits.

       Courts have recognized that a defendant who does not participate in the manufacture or

design of the allegedly infringing instrumentality is “peripheral” to the manufacturing defendant.

See Cellular Commc’ns, 2016 WL 6884648, at *2 (relying on the fact that plaintiff “proffered no

evidence suggesting that Carrier defendants had any meaningful role in the design or manufacture

of the component that implements the patented [] functionality” in granting Carrier defendants’

motion to sever and stay); see also Shifferaw, 2010 WL 1064380, at *3 (same); Saint Lawrence

Commc’ns. LLC v. Apple, Inc., 2:16-cv-82-JRG, 2017 WL 3712912, at *2 (E.D. Tex. Jul. 12, 2017)

(staying and severing the customer-defendants where they “play[ ] no role in the development,

design, or implementation of the relevant software code”).

       Plaintiff here has not alleged or even suggested that the Lenovo Defendants participate in

the design or manufacture of the Manufacturers’ integrated circuits. (See Dkt. 1, ¶¶ 53, 74, 92,

and 111.)    Rather, Plaintiff merely alleges that the Lenovo Defendants incorporate the

Manufacturers’ integrated circuits into the accused tablets, which are then sold. (See id.) These

allegations demonstrate that the Lenovo Defendants are peripheral. Cellular Commc’ns, 2016 WL

6884648, at *2 (finding customers peripheral where plaintiff’s “infringement allegations [were]

limited to the source code on a baseband chip, which is manufactured and supplied by Qualcomm”;

mere fact that customer defendants sell products incorporating these baseband chips did “not

change the fact that they do not modify or alter the patented technology at issue”). This is further

underscored by the fact that Plaintiff accuses the same integrated circuits as to all of the Lenovo

Defendants’ accused products. Id. (finding severance and stay proper where “the source code on

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the Qualcomm chips is the same in every single [accused product], regardless of [whom it is sold

by]”).

                2.     The infringement allegations are identically directed to integrated
                       circuits as to all Defendants.

         Where “the infringement claims against the [customer defendants] are substantively

identical to the infringement claims against [the manufacturer defendant], the remaining claims

against the [customers] are peripheral.” Id. at *2. Plaintiff asserts one set of infringement

allegations against all Defendants in one fell swoop. (Dkt. 1, ¶¶ 56-64, 77-82, 95-101, 114-19.)

The infringement allegations are, therefore, literally identical as to all Defendants, and allegedly

describe how the processors within the integrated circuits infringe the asserted patents. The

Lenovo Defendants’ role in litigating the infringement allegations as to these integrated circuits

would be purely peripheral.

                3.     The Manufacturers have the substantive knowledge and discovery
                       regarding alleged infringement, not the Lenovo Defendants.

         “The rationale behind severing and staying in these circumstances is that second-hand

entities like retailers or distributors are not involved and would not have substantive knowledge

about the patent infringement, which would begin at the design and manufacture stages.”

Rothschild Mobile Imaging Innovations, LLC v. Mitek Sys., Inc., No. 14-cv-617-GMS, 2015 WL

4624164 (D. Del. Jul. 31, 2015). The Manufacturers are the parties with the vast majority of the

substantive knowledge regarding the technology at issue—the underlying integrated circuits and

processors therein. Not so as to the Lenovo Defendants. Similarly, the vast majority of the

discovery required to determine infringement is in the possession, custody, or control of the

Manufacturers, not the Lenovo Defendants. Severance and stay of the peripheral claims asserted

against the Lenovo Defendants is therefore proper to “facilitate convenient, efficient, and less

expensive determination” of this action. Cellular Commc’ns, 2016 WL 6884648, at *3 (citing In
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re Nintendo, 756 F.3d at 1365); see also Spread Spectrum Screening, LLC v. Eastman Kodak Co.,

No. 10-cv-1101, 2010 WL 3516106, at *3 (N.D. Ill. Sept. 1, 2010) (granting motion to sever and

stay where the “[customer defendants] have nothing substantive to offer during [plaintiffs’] action

against [manufacturer defendant] and likely do not even understand how the product software

actually works and will not be helpful to determine whether [the accused product] infringes”).

        B.     Adjudication of the Claims Against the Manufacturers Will Dispose of the
               Claims Against the Lenovo Defendants

        The “manufacturer’s case need only have the potential to resolve the ‘major issues’

concerning the claims against the customer—not every issue—in order to justify a stay of the

customer suits.” Spread Spectrum Screening LLC v. Eastman Kodak Co., 657 F.3d 1349, 1358

(Fed. Cir. 2011) (emphasis added). Here, adjudication of the claims against the Manufacturers

will resolve the substantive claims against the Lenovo Defendants because the Court will either

determine, among other things, that the Manufacturers’ integrated circuits: (1) do not infringe the

asserted patents, which means the Lenovo Defendants’ accused tablets also do not infringe; or (2)

infringe the asserted patents, whereby any reasonable royalty awarded against the Manufacturers

would exhaust Plaintiff’s remedies as to the Lenovo Defendants. Similarly, if the Manufacturers

prove that the asserted patents are invalid, the patents could not be asserted against Lenovo at a

later time.

        Where the “[manufacturer defendants’] liability is predicate to recovery from any of the

[other] defendants, the case against [the manufacturer defendants] must proceed first.” In re

Nintendo, 756 F.3d at 1366; Collaborative Agreements, 2015 WL 10818739, at *2 (finding that

where “the infringement case against all Defendants will rise and fall with the question of whether

[the manufacturers’ products are] found to infringe the claims of the patent,” severance and stay is

proper). Here, Plaintiff’s infringement claims against the Lenovo Defendants “rise and fall” with

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its claims against the Manufacturers. This is because the claims against the Lenovo Defendants

are directed toward the Manufacturers’ integrated circuits. (Section II.B, supra.) Each and every

asserted claim is an apparatus claim directed to “integrated circuits.” (Section II.A, supra.) Each

element of each asserted claim recites components or features of the claimed integrated circuit.

(E.g., Yip Dec. Ex. A (claim 5 of the ‘001 patent requires “[a]n integrated circuit comprising: . . .

logic blocks . . . an on-chip logic analyzer . . . [and] probe lines” and then recites how those

components or features are implemented to achieve the intended purpose).)

       The only reason why the Lenovo Defendants are named at all is because their accused

tablets happen to incorporate the Manufacturers’ integrated circuits. Consequently, it is impossible

that the Court could find infringement as to the Lenovo Defendants, without first determining

whether the Manufacturers’ integrated circuits infringe. This counsels strongly in favor of a stay.

Collaborative Agreements, 2015 WL 10818739, at *2 (granting the customer defendant’s motion

to sever and stay where the “court [found] it extremely unlikely that a reasonable jury could find

that if [the manufacturer defendant’s] software does not infringe the patent, the Customer

Defendants’ use of the software does infringe”).

       Additionally, if this Court were to find that the Manufacturers’ integrated circuits infringe

any asserted claim, and that the patents are valid, Plaintiff’s monetary recovery on those claims

would exhaust any monetary recovery against the Lenovo Defendants. “[W]hen a patentee

receives full compensation for the wrongful use of an invention in devices made and sold by a

manufacturer, the patentee effectively adopts the sales by the manufacturer such that purchasers

and users of the devices receive implied licenses that free them from liability for infringement of

the patent.” Glenayre Elecs., Inc. v. Jackson, 443 F.3d 851, 865 (Fed. Cir. 2006) (emphasis added);

see also Intel Corp. v. ULSI Sys. Tech. Inc., 995 F.2d 1566 (Fed.Cir.1993) (holding that a patentee


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can collect only one royalty from a patent infringement). Thus, where “the issues of infringement

and invalidity are common to [the manufacturer defendants] and the [customer defendants,] if

[plaintiff was] to collect royalties from [the manufacturer defendants], this would preclude suit

against the [customer defendants].” In re Nintendo, 756 F.3d at 1366.

       The Manufacturers’ case here does not just have the “potential” to resolve “major issues”

concerning the claims against the Lenovo Defendants, it will necessarily resolve them. Spread

Spectrum, 657 F.3d at 1358.

V.     CONCLUSION

       Plaintiff’s infringement allegations against the Lenovo Defendants are entirely directed to

integrated circuits manufactured by the Qualcomm and MediaTek Defendants. The Lenovo

Defendants merely allegedly incorporate the accused integrated circuits into end user tablets. All

infringement allegations against the Lenovo Defendants are wholly duplicative of and identical to

the claims against the Manufacturers, and it is baffling why Plaintiff singled out and named the

Lenovo Defendants at all. Severance and stay of the claims against the Lenovo Defendants is

warranted. The Court should grant this motion.




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March 13, 2019                Respectfully submitted,

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                              Lenovo Group Ltd.




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                             CERTIFICATE OF CONFERENCE


       The Parties have complied with Local Rule CV-7(i). Lai Yip, counsel for Specially

Appearing Defendants Lenovo (Shanghai) Electronics Technology Co., Ltd. and Lenovo Group

Ltd., met and conferred with Zac Harrington, counsel for American Patents LLC, on March 12,

2019. Mr. Harrington indicated that American Patents LLC opposes the Motion.

                                                /s/ Lai L. Yip___
                                                Lai L. Yip


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2019, a true and correct copy of the foregoing

SPECIALLY APPEARING DEFENDANTS LENOVO (SHANGHAI) ELECTRONICS

TECHNOLOGY CO. LTD., LENOVO GROUP, LTD.’S OPPOSED MOTION TO SEVER AND

STAY PURSUANT TO FED. R. CIV. P. 21 was filed electronically. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. All other parties will be served by regular U.S. Mail. Parties may access this filing

through the Court’s electronic filing system.

                                                /s/ Eric H. Findlay
                                                Eric H. Findlay




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